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 1
                                            THE HONORABLE RONALD B. LEIGHTON
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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT TACOMA

 7 UNITED STATES OF AMERICA,                   )
                                               )       No. CR06-5265RBL
                     Plaintiff,                )
 8                                             )       ORDER
                   vs.                         )       ALLOWING WITHDRAWAL AND
 9                                             )       SUBSTITUTION OF ATTORNEY
      JESUS CERVANTES-CAMACHO,                 )
10                                             )
                     Defendant.                )
11                                                 )
12                 THIS MATTER having come on before the above-entitled Court upon the
13 motion of the defendant, Jesus Cervantes-Camacho, for an order allowing Zenon P.

14 Olbertz to withdraw as attorney of record for the defendant, and further allowing

15 substitution of counsel; and the Court being in all things fully advised; NOW

16

17                THEREFORE, It Is Hereby

18                ORDERED that Zenon P. Olbertz is hereby allowed to withdraw as

19 attorney for the above-named defendant and the CJA Administrator is directed to appoint

20
     substitute counsel for Jesus Cervantes-Camacho.

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     IT IS SO ORDERED this 2nd day of June, 2006.
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23                                            RONALD B. LEIGHTON
                                              UNITED STATES DISTRICT JUDGE
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